 

DISH NETWORK L.L.C, ECHOSTAR
TECHNOLOGIES L.L.C., and
NAGRASTAR LLC

Plaintiffs
v.

Edgardo Carrasquillo Reyes, a/k/a
‘Edgardo Carrasquillo”, “Ed Reyes”,
‘Frank Reyes”, “BluebirdPR” and
‘Bluebird” d/b/a Generation IKS,
www.caribbeansystems.galeon.com
and JOHN DOES 1-3

Defen dant

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF PUERTO RICO

Case No.:

DECLARATION OF JERRY LEE GEE
IN SUPPORT OF PLAINTIFFS’ EX
PARTE MOTIONS FOR TEMPORARY
RESTRAINING ORDER, CIVIL
SEIZURE/IMPOUNDMENT ORDER,
ORDER TO SHOW CAUSE, ORDER
TEMPORARILY SEALING CASE,
ORDER FOR ASSET FREEZE,AND
ORDER FOR ACCOUNTING

 

 

Jerry Lee Gee declares and says:

l. My name is Jerry Lee Gee.

Technologies L.L.C.;

and

 

2. l am making this declaration in support of the Plaintiffs’ Ex Parte Motions for Temporary
Restraining Order, Civil Seizure/lmpoundment Order, Order to Show Cause, Order
Temporarily Sealing Case, Order for Asset freeze and Order for Accounting.

3. I make this declaration from my own personal knowledge Additionally, employees and
agents of the Plaintiffs have investigated the Defendant in this civil action and they have
set forth their findings in their declarations, those declarations being:

a. The Declaration of Kevin Gedeon, an employee of the Plaintiff, EchoStar

b. The Declaration of Gregory Duval, an employee of the Plaintiff, NagraStar LLC;

c. The Declaration of Gerald Plot, a private investigator.

The declarations of these individuals should be examined for details regarding the piracy

activities of the Defendant. l find the opinions and statements of Mr. Gedeon and Mr.

 

 

 

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Duval to be truthful and .believable. I also find the allegations of the investigator to be to
be truthful and believable. Accordingly, my statements set forth herein are also based upon
the evidence derived from the Plaintiffs’ investigation and from the expert analysis related
to the investigation

Through this declaration l Will describe the Plaintiffs’ satellite television system. Some of
my declaration will cover areas also addressed by Mr. Gedeon and Mr. Duval in their
declarations, but I make my declaration With a special emphasis on the encryption
technology involved.

As set forth in more detail below, I Will describe the relationship between the three
Plaintiffs. Essentially, DISH Network L.L.C. (individually referred to as “DISH.” runs a
satellite television business; EchoStar Technologies L.L.C. (individually referred to as
“EchoStar”) manufactures and distributes the hardware for the DISH system; NagraStar
L.L.C. (individually referred to as “NagraStar”) creates the encryption technology for the
system. All of these elements can be described as being part of the DISH system.

When describing the DISH system I Will sometimes collectively refer to DISH and
EchoStar Technologies as “DISH” for ease of reference. These companies were, prior to a
corporate restructuring on or around January 2008, related business undertakings under the
same parent company. DISH and EchoStar continue to Work cooperativer to effect the
secure distribution of DISH Programming to DISH subscribers DISH holds the necessary
rights to sell subscriptions and distribute DISH Programming to its subscribers in the
United States, including licenses from the copyright owners of DISH Programming, and
delivers DISH Programming to its subscribers Via satellite using an encrypted
programming signal. As mentioned above, EchoStar is a technology supplier to DISH. It is

the developer and manufacturer of DISH receivers and related technology (described

 

 

 

 

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further below), which is used as part of the DISH security system (as defined below).

Persomzl Backgrouml

l am employed by the Plaintiff NagraStar L.L.C. (hereinafter “NagraStar”) as the Director
of Field Security and investigations

I have been working for NagraStar since January of 2001.

Before coming to NagraStar l was employed by Pinkerton Consulting and Investigations in
Denver, Colorado for three years. Iwas a supervisor of investigations for Pinkerton, and I
conducted investigations pertaining to due diligence, executive protection, corporate
investigations, insurance fraud, surveillance, bond investigations, and software piracy
investigations, among other things. l investigated several hundred cases dealing with
piracy of computer software developed by Microsofc.

Prior to working as a supervisor for Pinkerton, I was the operations manager for Pinkerton
security in Denver, Colorado.

l also am a veteran of the United States Marine Corps Where I worked in the intelligence
field.

My focus with NagraStar is obtaining technical intelligence and data primarily for the
technical security of NagraStar customers including DISH and its related corporate entity,
EchoStar Technologies; my primary focus with NagraStar is satellite piracy fraud against
DISH, but l also do similar Work for a Canadian satellite entity.

As part of my Work I routinely get information by conducting internet research and by
engaging in person-to-person intelligence gathering I follow up on leads, and gather
information off the internet, and I pursue information and coordinate leads. l also direct

undercover investigations and assess the information gathered therein.

 

 

 

 

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l have actively assisted both local and federal enforcement agencies Within the United
States of America and Canada. I have acted as an expert during criminal raids, searches
and seizures.

l have been called to testify in satellite piracy trials for the government of the United States
of America and Canada at the municipal/county, state/provincial and federal jurisdictions
of both countries.

Through my position as a Director With NagraStar I have gained considerable knowledge

of the DISH system and of the piracy of DISH’s signals.

T he DISH System

DISH has invested several billion U.S. dollars in its distribution and broadcasting system.
All programming distributed by DISH is delivered to one or more broadcast centers in
Wyoming, Arizona, and elsewhere, Where it is digitized, compressed, and scrambled. The
scrambled signals are then transmitted to multiple satellites located in geo-synchronous
orbit above the Earth.

More than fourteen million household and commercial viewers of DISH Programming can
obtain hundreds of channels of programming in digital video and CD-quality audio. DISH,
together With its afflliates, employs over 25 ,000 people.

DISH purchases the distribution rights, including copyright licenses, for most of the DISH
Programming it sells from program providers such as network affiliates, pay and specialty
broadcasters, cable networks, motion picture distributors, sports leagues, event promoters,
and other programming rights holders. DISH contracts and pays for the right to distribute
DISH Programming to its subscribers, and holds rights to exhibit the DISH Programming

to them.

 

 

 

 

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The satellites that transmit DISH Programming have relatively fixed “footprints” (i.e., a
terrestrial territory within which the scrambled satellite broadcast signals can be received).
The “footprints” of the satellites used by DISH cover the United States, parts of Canada,
parts of Mexico, and several Caribbean nations and territories, including Puerto Rico. The
satellites relay the scrambled signals back to Earth, where they can be received by DISH’s
subscribers

In order to view DISH Programming, a consumer must obtain certain satellite system
hardware consisting primarily of: (1) a satellite dish, (2) an integrated receiver/decoder
(also called a “receiver”, “IRD” or a “set-top box”), and (3) a DISH smartcard (“DISH
smartcard”) (collectively, the “Receiving Equipment”). ln certain newer receivers, the
DISH smartcard microprocessor technology is built directly into the receiver and the
receiver is “cardless”. For purposes of this declaration, this built-in technology is included
in the term DISH smartcard.

Satellite dishes can be mounted on a rooftop, deck railing, or other structure at the
subscriber’s home or business The signal is received by the dish and transmitted by wire
to the receiver. The \receiver processes and descrambles the incoming signal using the
credit-card sized DISH smartcard. The DISH smartcard is loaded into the receiver through
a slot in the unit (except in “cardless” units where the microprocessor is built into the unit).
DISH subsidizes the cost of the receiving equipment in anticipation of revenues that will
be received from authorized subscribers to DISH Programming

The DISH smartcard is essential to the operation of the receiving equipment; it
communicates with the receiver to enable the descrambling of DISH Programming The
DISH software and the security software contained in the receiver are licensed from

NagraStar, which regards it as a trade secret and strictly confidential information that it

 

 

 

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would not disclose to any third paity.

Without a subscription, DISH does not authorize access to its scrambled DISH
Programming DISH provides the DISH smartcards to its subscribers for use with
receivers for the sole purpose of enabling authorized access to DISH Programming DISH
smartcards are the property of DISH and must be returned to DISH on request. Any
modification of or tampering with DISH smartcards is prohibited by DISH. Moreover, the
terms on which DISH smartcards are made available to consumers provide that they are
strictly non-transferable

DISH expressly prohibits subscribers from reverse-engineering, decompiling,
disassembling, tampering, or the modification of any software or hardware that forms part
of the DISH smartcards and DISH receivers Subscribers to DISH are granted a license to
use the software contained in the components of DISH receivers only in conjunction with
their lawful operation and as authorized by DISH. They are also prohibited from copying,

modifying, or transferring the software in the DISH receivers

T he DISH Securitv Svstem

Because DISH generates revenues through sales of subscription packages and pay-per-
view programming, and because its ability to attract and retain distribution rights for
copyrighted programming is dependent upon preventing the unauthorized descrambling of
its signals, all of DISH’s video channels, except for some promotional offerings, are
digitally encoded and scrambled to prevent unauthorized viewing.

Since NagraStar’s ability to generate revenues is dependent upon the ability of its licensees
to use NagraStar conditional access technology to restrict access to their services to

authorized paying customers, NagraStar devotes substantial resources to the continuing

 

 

 

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development and improvement of the NagraStar conditional access technology, the
investigation of misuse or piracy of the NagraStar conditional access technology, and
enforcing its rights against individuals engaging in such activities

DISH uses a complex encryption system that is combined with a scrambler/encoder
system to form its rights management and security system (the “DISH security system”),
which is designed to, among other things, prevent DISH Programming nom being viewed
by unauthorized persons

The DISH security system serves two interrelated functions: (l) subscriber rights
management, which allows DISH to “turn on” or “turn off’ programming that a customer
has ordered, cancelled, or changed; and (2) scrambling, which prevents individuals or
entities who have not ordered DISH Programming from viewing it.

NagraStar provides DISH with DISH smartcards that are programmed and serialized (i.e.,
assigned unique electronic identification numbers). DISH then provides the DISH
smartcards to receiver manufacturers, who include one DISH smartcard with each receiver
(unless the receiver is “cardless”, in which case it is built into the receiver). Each DISH
receiver also has a unique identification number.

Upon the first activation of a customer’s subscription, DISH sends a signal to the DISH
smartcard in order to “pair” the DISH smartcard to the customer’s DISH receiver. The
unique identification numbers of the DISH smartcard and the DISH receiver are
maintained in DISH’s subscriber management system. This pairing operation, using the
two unique identification numbers and their associated secret keys,'is mandatory for the
proper operation of the DISH security system. Before being “paired”, a DISH smartcard is
not authorized .by DISH to be used with any receiver, and after “pairing”, the DISH

smartcard can only be used with that specific receiver and the receiver can only be used

 

 

 

 

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with that specific DISH smartcard. In addition, in order to descramble DISH
Programming, the identification numbers and secret keys must also be “paired” with other
keys transmitted by DISH in its satellite signal data stream.

When a DISH receiver receives encrypted DISH satellite signals, it locates a special part
of the satellite signal data stream known as the encrypted entitlement control message and
sends that encrypted entitlement control message to the DISH smartcard in the DISH
receiver. When a customer selects a DISH Programming channel for viewing, the DISH
smartcard checks to determine whether that channel is part of that customer’s subscription
and, if it is, decrypts the “control wor ” for that channel and provides it to the receiver.
The receiver uses the control word to descramble the DISH Programming signal so the
selected channel can be viewed by the subscriber. The control words are changed at
regular intervals as part of the DISH security system.

The DISH smartcard, in conjunction with the DISH receiver, is programmed to handle
secure telecommunications over telephone lines with respect to viewer purchases of pay-
per-view movies or other events These communications are essential to DISH’s billing,
accounting, security, and customer service. To enable these telecommunications DISH
directs DISH subscribers to connect their receiver to a telephone line.

The DISH smartcard (including the equivalent technology built into newer DISH
receivers) is, therefore, fundamental to the DISH security system in that it prevents
unauthorized program viewing, while permitting authorized receivers used by DISH’s
subscribers to descramble the signals and permit program viewing in accordance with the
subscriber’s authorized subscription package and pay-per-view purchases

The subscriber agreement between DISH and its residential customers (the “Residential

>Customer Agreemen ”) sets out the terms and conditions under which DISH provides

 

 

 

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services and equipment to its residential customers In order to protect its rights in DISH
Programming and the DISH Security System, DISH includes the following provisions in
its Residential Customer Agreement:

Z(H) Private Home Viewing Only. DISH Network provides Services to you
solely for viewing, use and enjoyment in your private home. You agree that no
Services provided to you will be viewed in areas open to the public, commercial
establishments or other residential locations Services may not be rebroadcast or
performed, and admission may not be charged for listening to or viewing any
Services If your Services are viewed in an area open to the public, a commercial
establishment or another residential location, we may disconnect your Services
and, in addition to all other applicable fees, you must pay us the difference
between the price actually paid for Services and the full applicable rate for such
Services, regardless of Whether we have the right to distribute such Services in
such other location.

4(C) Smart Cards. Receiver(s) are equipped With a conditional access card
(“Smart Card”) inserted into a slot or otherwise installed in such
receiver...Smart Cards remain the propertv of DISH Network at all times
and must be returned to us upon our request. Smart Cards are not
transferable Your Smart Card will only work in the DISH Network receiver to
which it was assigned by DISH Network. ..

4(G) Proprietary Components and Software. DISH Network receivers and Smart
Cards contain components and software that are proprietary to DISH Network
and its licensors You agree that you will not tiy to reverse-engineer, decompile
or disassemble, nor will you tamper with or modify, any software or hardware
contained within any receiver or Smart Card. Such actions are strictly prohibited
and may result in the termination of this Agreement, disconnection of your
Services and/or legal action.

4(H) Sofcware License. You are licensed to use the software provided in your
DISH Network receiver(s), as updated by DISH Network, its licensors and/or its
suppliers from time to time, solely in executable code forrn, solely in conjunction
With lawful operation of the DISH Network receiver(s) that you purchased or
leased, and solely for the purposes permitted under this Agreement. You may not
copy, modify or transfer any software provided in your DISH Network
receiver(s), or any copy of such software, in whole or in part. You may not
reverse-engineer, disassemble, decompile or translate such software, or otherwise
attempt to derive its source code, except to the extent allowed under any
applicable laws You may not rent, lease, load, resell for profit or distribute any
software provided in your DISH Network receivei'(s), or any part thereof Such
software is licensed, not sold, to you for use only under the terms and conditions
of this license, and DISH Network, its licensors and its suppliers reserve all
rights not expressly granted to you. Except as stated above, this license does not
grant to you any intellectual property rights in the software provided in your
DISH Network receiver(s). Any attempt to transfer any of the rights, duties or

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obligations of this license is null and void. If you breach any term or condition of
this license, this license will automatically terminate.

S(A) Piracy. Receiving any portion of the Services without paying for them
and/or any direct or indirect act or attempted act to engage or assist in any
unauthoiized interception or reception of any portion of the Services is a
violation of various U.S. federal and state laws and of this Agreement. The
penalties for violating such laws can include imprisonment and civil damage
awards of up to $110,000 per violation

S(B) Physical Address/Change of Address. When setting up your DISH Network
account, you must provide us with the physical address where your Equipment
will be located and your Services will be provided A post office box does not
meet this requirement You must give us immediate notice of any change of
name, mailing address, telephone number, or physical address where your
Equipment is located. ..

[Emphasis added]

Satellite Piracv Overview

ln late 1998, rumors began to circulate that “hackers” were compromising the NagraStar
conditional access technology and the DISH security system, so that they could receive
and descramble DISH Programming without authorization from or payment to DISH.
Subsequent investigations confirmed these rumors to be true. ]n this Declaration, I refer to
persons who were engaged in or connected with businesses that were engaged in various
aspects of satellite television piracy or who otherwise participated in the piracy community
as “pirates”.

ln the months and years that followed, various types of equipment, devices, software,
programming code, modified satellite television smartcards, satellite television receivers,
computer servers, and other technology (collectively, “piracy technology”) appeared on
the market to “hack” or circumvent the DISH security system and the NagraStar
conditional access technology.

Generally, there have been five stages of piracy activity:

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(a) First, pirates manufactured and sold “pirate boards” that operated in place of, or
in conjunction with, DISH sinartcards;

(b) Second, pirates offered services to re-program the software on DISH smartcards
with piracy software to permit the smartcards to steal DISH Programming, and
services to “update” or “fix” the piracy software following the deployment of
electronic countermeasures (“ECMs”) by the Plaintiffs that deactivated illegally-
modified smartcards;

(c) Third, pirates sold piracy devices that permitted consumers to re-program the
software on DISH smartcards themselves, and made piracy software available on
numerous websites, sometimes for a charge or membership fee;

(d) Fourth, dealers began selling so-called “free-to-air” (“FTA”) receivers that were
capable of being programmed with piracy software to steal DISH Programming
(so-called traditional FTA receivers as described below), and piracy software was
offered on numerous piracy websites and regularly “updated” or “fixed”
following the deployment of ECMS by the Plaintiffs that deactivated illegally-
modified FTA receivers; and

(e) Fif`th, dealers began selling FTA receivers capable of being connected to the
internet (so-called internet-enabled FTA receivers as described below) that were
capable of communicating with so-called lnternet Key Sharing (“lKS”)/Control
Word Sharing servers that provided the “keys” and control words, over the

internet, necessary to steal DISH Programming

DISH Smartcard Piracg

39. The first three stages of piracy described above involved the “hacking” and “emulation” of

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DISH smartcards DISH’s anti-piracy strategy includes the periodic introduction of new
generations of DISH smartcards containing updated security software. The main purpose
of developing and introducing successive generations of DISH smartcards is to foil
hackers and render obsolete existing piracy devices Converting DISH customers to new
generations of DISH smartcards and switching the satellite signal data stream so that it can
only be received by the new DISH smartcards requires the Pirates to start over again in
attacking the DISH smartcards DISH and NagraStar have invested and continue to invest
significant time and money in these enhancements

For many years, Pirates developed, designed, provided and sold piracy software created
solely for the purpose of “programming”, “cracking”, “flashing”, “glitching”, and
“modifying” DISH smartcards, DISH Receivers, or piracy devices; “repairing”,
“patching”, “fixing” or “updating” illegally-modified DISH smartcards, DISH Receivers,
or piracy devices that had been disabled by ECMS transmitted by DISH to attack illegally-
modified DISH smartcards; and “blocking” ECMS from attacking illegally-modified DISH
smartcards

This led to a “cat and inouse” game in which DISH and NagraStar continually enhanced
the security features of DISH smartcards and the DISH Security System, and Pirates
continually attempted to find ways to attack the security technology contained in them.

ln 2008, DISH transitioned its subscribers to a new generation of DISH smartcard, known
as the ROM 2411, which contained updated security technology. The ROM 241 rendered

the DISH satellite signal data stream “secure” from unauthorized descrambling (because

the ROM 241 security technology had not been compromised by Pirates) and DISH

 

1 Pirates often refer to the ROM 241, and other NagraStar smartcards of the same generation used worldwide, as
“Nagra 3” or “N3”. This is because these smartcards succeeded a prior generation of DISH smartcards that was
known as “Nagra 2” or “N2” by Pirates.

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Programming could no longer be descrambled using traditional piracy software and
devices However, piracy based on FTA receivers and IKS piracy (the fourth and fifth
stages described above) continued to proliferate. In 2012, DISH introduced its latest
generation of DISH smartcard known as the ROM 552, which is being provided with all
newly manufactured and re-manufactured DISH Receivers.

Pirates sometimes refer to the use of modified DISH smartcards or piracy devices as
“testing’” (i.e., implying that they are used for the purpose of “testing” the Receiving
Equipment) and sometimes refer to themselves as “testers” and piracy as a “hobby”. DISH
and NagraStar do not authorize anyone to modify, alter, reprogram or “test” DISH
smartcards or DISH Receivers for any purpose whatsoever. Legitimate subscribers to
DISH would have no reason to “test”, tamper with, alter, program, or re-program DISH
smartcards or DISH Receivers. Rather, the sole purpose of such activities would be to

circumvent the DISH Security System to steal DISH Programming

T he Use of F ree-T o-Air Receivers for Satellite Piracv
Traditional Free-To-Air Receivers

In 2003, Pirates developed a new way to steal DISH Programming by using FTA receivers
programmed with piracy software. FTA receivers were originally designed to receive
“free-to-air” satellite television signals, which are either not scrambled or scrambled but
available free of charge. There are numerous “free-to-air” television channels available in
Canada and the U.S., which offer specific ethnic, religious, business, music, information
and advertisement programming “Free-to-air” channels and FTA receivers have existed
for many years, and are today manufactured and sold by several companies under various
brand names including iLink, Freesat, Dreambox, Openbox, and SonicView.

FTA receivers are similar to the receivers used by DISH in that they are a set-top box,

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approximately the size of a DVD player, which contain descrambling circuits and software
that enables them to receive and decrypt pro gramming. Some FTA receivers also contain a
smartcard reader.

Because FTA receivers and their use are legal, in certain circumstances in the United
States, they are attractive to Pirates as a “legal” product with which to engage in piracy
activities This cloak of legitimacy presents challenges to DISH and NagraStar in their
enforcement activities

Initially, Pirates acquired FTA receivers from their manufacturers and loaded piracy
software onto the circuit chips contained within them so as to mimic a DISH smartcard.
This form of piracy was known as “Smart Card Emulation”. To combat Smart Card
Emulation, NagraStar developed and deployed ECMs that served to either (1) change the
keys used to descramble DISH Programming, or (2) create another layer of security that
the piracy software cannot circumvent Unfortunately, these ECMs were short-term
solutions because the coders usually developed and released new software (sometimes
called a “fix” or “update”) that gave the FTA receivers the capability of once again
descrambling DISH Programming Without authorization from or payment to DISH.
Subsequently, “coders” (i.e., software programmers) gained access to a part of DISH’s
encrypted data stream that contains the Decryption Keys and Control Words used to
scramble and descramble DISH Programming The coders embedded these Decryption
Keys and Control Words in the piracy sonare, which, when loaded onto the FTA
receiver, gave the FTA receiver the capability of descrambling DISH Programming

without authorization from or payment to DISH.

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Internet-Enablea' FTA Receivers and IKS Piracv
ln or about 2007, Pirates began selling certain brands of FTA receivers in North America
that were capable of using piracy software to obtain the Control Words required to
descramble DISH Programming directly from computer servers via the lnternet (“Internet-
Enabled FTA Receivers”). Legitimate FTA receivers do not require information to be
downloaded from the lnternet in order to receive FTA pro gramming.
Once piracy software (sometimes referred to as “IKS piracy software”) is loaded onto
lnternet-Enabled FTA Receivers (sometimes referred to as “flashed lnternet-Enabled FTA
Receivers” or an “unauthorized receivers”), the Intemet connection permits the “sharing”
of Control Words through “Internet Key Sharing” or “IKS”. The Intemet-Enabled FTA
Receiver contacts a specific computer server over the lnternet (the “IKS Server”), which
provides the Control Words necessary to descramble DISH Programming
IKS Servers use DISH smartcards activated on legitimate DISH subscription accounts,
together with legitimate DISH Receivers, to decrypt the Decryption Keys and Control
Words and share them with the IKS Seiver’s end-users through the internet, thereby
permitting the end-users to descramble and view DISH Programming without purchasing a
subscription
There is no legitimate use for an IKS Server.
Pirates who operate IKS Servers typically sell subscriptions to DISH Programming to their
customers (“IKS Subscriptions”) over the lnternet. There are also piracy dealers who sell
subscriptions to end-users where the dealer is not the actual pirate who is operating the
IKS server; in essence these dealers obtain subscriptions on the “wholesale” level and sell
them at the retail level. Generally, end-users who have purchased lnternet-Enabled FTA

Receivers purchase IKS Subscriptions, load IKS piracy software onto the lnternet-Enabled

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FTA Receivers, enter the IKS Subscription access code for the IKS Server, and then
configure their Internet-Enabled FTA Receiver to connect to the IKS Server and receive
Control Words required to descramble DISH Programming

IKS Servers may have periods of time in which they stop working. Pirates sometimes refer
to IKS as being “down” during these periods, while they take steps to restore the
functionality of the IKS Servers This volatility of IKS Servers is a result of a number of
factors, including (1) ECMs that disable specific brands of IKS Servers at different points
in time; and (2) specific issues experienced by the operators of individual IKS Servers
Thus, at any given point in time, certain IKS Servers may be operational while others may
not be, and the status of IKS Servers can change on a regular basis An IKS Server that
goes “down” may be “fixed” and operational within a matter of hours or days

Pirates have also devised a means of using DISH Receivers together with certain Piracy
Technology to access IKS Servers This Piracy Technology includes circuit boards known
as AVR boards and modified wireless (sometimes known as “wi-fi”) routers used to access
the lnternet and the IKS Server, to obtain decrypted Control Words (“IKS Routers”).
Using the decrypted Control Words, an IKS Router together with a DISH Receiver can
descramble and view DISH Programming, in a manner similar to an internet-Enabled FTA
Receiver.

In essence, lnternet-Enabled FTA Receivers, IKS Servers, ]KS Routers and related Piracy
Technology function in place of authorized DISH smartcards and DISH Receivers to
provide end-users with the decrypted Control Words from IKS Servers to steal DISH
Programming

In order to communicate the Control Words to a large number of end-users of the IKS

Server before the Control Words change (which occurs frequently to maintain the security

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of DISH Programming), an IKS Server typically requires multiple subscribed and
activated DISH smartcards This is because each DISH smartcard decrypting Control
Words for the IKS Server can only handle a limited number of Control Word requests at
any given time. Moreover, ECMs transmitted by DISH and NagraStar periodically disable
the DISH smartcards used in IKS Servers For these reasons, Pirates who operate IKS
Servers require access to additional DISH smartcards to replace those that have been
disabled.

Pirates who operate IKS Servers are unlikely to activate DISH subscriptions in their own
names Instead, they obtain DISH smartcards activated by a number of different
subscribers with different programming authorizations and accounts As a result, when the
Plaintiffs identify the DISH smartcards being used in IKS Servers, they can only trace
them back to the subscribers who activated them rather than to the Pirates operating the
IKS Servers If fraudulent identities are used to activate the subscriptions the identities of
the Pirates who operate the IKS Servers are even more difficult to determine.

It is not necessary for end-users who access IKS Servers to know where the IKS Servers
are physically located. To the contrary, the Pirates who operate IKS Servers typically
conceal the physical location of the IKS Servers IKS Servers are typically hidden in
locations known only to the Pirates who operate them (and who require physical access in
order to maintain them and replace the DISH smartcards that have been disabled by
ECMS). ln many cases, their locations are masked by using so-called “proxy” servers
located in foreign countries that make it impossible for NagraStar or DISH to trace the
locations of the IKS Servers l have been involved in several investigations of IKS Servers
in which the Intemet Protocol (“IP”) addresses of the IKS Servers have turned out to be

“proxy” servers located offshore, but the IKS Servers themselves have been located in

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North America, typically within easy access of the Pirates who operate them (and who
require physical access in order to maintain them). ln some cases, Pirates operating IKS
Servers have told end-users that the IKS Servers are located offshore, where they cannot
be seized by the Plaintiffs, but this is unlikely to be true because the IKS Servers, or at
least a portion of the hardware supporting them, must be situated within the “footprint”
where DISH Programming can be received (i.e., within continental North America, or in
the case of DISH also in the US Virgin Islands, Puerto Rico and Hawaii).
IKS Servers, IKS Routers, and the related Piracy Technology used to access them have
posed, and continue to pose, serious threats to the business interests and revenues of the
Plaintiffs, by undermining the integrity of the NagraStar Conditional Access System and
the security and billing systems of the Plaintiffs By engaging in IKS piracy, end-users are
able to obtain all the information they need to descramble DISH Programming directly
from IKS Servers to permit end-users to steal DISH Programming. The threats posed by
]KS piracy are primarily because:
a. by using legitimate DISH subscriptions they circumvent the DISH Security
System and the NagraStar Conditional Access System built into the DISH
smartcard;
b. Internet-Enabled FTA Receivers and IKS Routers supported by an IKS
Server recover easily from ECMs because Pirates simply need to replace the
affected DISH smartcards or DISH Receivers with new, legitimately
subscribed, DISH smartcards and DISH Receivers. There is no need for
Pirates or end-users to re-program the Intemet-Enabled FTA Receivers and
IKS Routers after an ECM because the Control Words continue to be

transmitted as soon as the Pirates replace the equipment in the ]KS Servers;

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and
c. since lnternet-Enabled FTA Receivers and IKS Routers rely on an IKS

Server which contains legitimately-subscribed DISH smartcards, they are

able to descramble DISH Programming despite the transition to new

generations of DISH smartcards with security enhancements that Pirates have

not hacked.
In some cases, the Plaintiffs have been able to identify the DISH smartcards being used to
support IKS Servers, and deploy ECMs to disable those DISH smartcards However, the
ECMs cannot stop or shut down these IKS Servers permanently. Instead, Pirates can
simply replace the disabled DISH smartcards with newly activated DISH smartcards and
install them in the IKS Servers so that end-users can resume stealing DISH Programming
The use of IKS Servers: (l) permits an incalculable number of end-users to steal DISH
Programming, and (2) makes it extremely difficult for the Plaintiffs to locate and disable

IKS Servers and identify the Pirates who establish and operate them.

Public vs. Subscription-Based IKS Servers
]KS servers are either public or subscription-based Public IKS servers are accessible via
the internet to any end-user who has an internet-enabled FTA receiver programmed with
compatible piracy software. End-users are not required to register with or provide payment
to the operators of public IKS servers in order to obtain control words for DISH
Programming. A public IKS server typically operates for a single brand, rather than
multiple brands, of internet-enabled FTA receivers The manufacturers of specific brands
of internet-enabled FTA receivers also appear to be involved in operating or otherwise

supporting the operation of public IKS servers for their brands of FTA receivers Although

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end-users do not pay for access to a public IKS server, they typically pay higher prices to
purchase internet-enabled FTA receivers than they would for “traditional” FTA receivers
Subscription-Based IKS Servers are only accessible to end-users who have subscribed to,
or registered with, the pirate(s) operating the Subscription-Based IKS Server. Operators of
Subscription-based IKS servers typically offer for sale subscriptions of varying duration to
DISH Programming without authorization from or payment to DISH (“IKS
Subscriptions”). IKS subscriptions can often be purchased via the internet. Upon
registering with and/or providing payment to the operator of a subscription-based IKS
server, end-users are able to download piracy software and configure their internet-enabled
FTA receivers to connect to the subscription-based IKS server and receive control words
required to descramble DISH Programming, thus becoming IKS subscribers Subscription-
based IKS servers may operate for a single brand or multiple brands of internet-enabled
FTA'receivers As noted above they may also provide control words to DISH receivers
that have been modified or programmed, or connected to piracy devices that permit them,
to download control words from the IKS server.

NagraStar regularly purchases, arranges for the purchase of`, or obtains subscriptions to
various IKS Services By analyzing the data stream from IKS Services, NagraStar can
identify the DISH smartcards that are providing the control words to descramble particular
channels of DISH Programming. By using the DISH customer databases, the Plaintiffs can
then determine the unique identifying numbers of the DISH receivers that are paired with
these DISH smartcards and the DISH subscription accounts on which they are activated
After identifying the DISH smartcards being used for an IKS Service the Plaintiffs can
also determine the DISH customer account information associated with the DISH

smartcards by using their customer databases. This customer account information is

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usually fictitious, however, for each customer account DISH maintains an account profile
with the customer’s name, service address, telephone number, contact information,
subscription package selection, billing information, and DISH smartcards and receivers
(including the unique identification numbers of the paired DISH smartcards and receivers).
NagraStar can trace the DISH smartcards being used to feed control words to particular
IKS servers, as determined by data stream analysis, to determine Where and when they
were purchased Occasionally, this purchase evidence can be used to identify the actual
individual who purchased these devices that are engaged in IKS piracy; DISH contracts
with retailers who sell EchoStar equipment (receivers and smartcards) and the DISH
retailers keep records of their sales for DISH in the normal course of their business and
their purchase records can be used to identify individuals who have purchased activated

smartcards used in IKS piracy.

Piracy Forum Websites

Many Pirates operate or participate in piracy web sites that serve as a “forum” for the
dissemination and exchange of information pertaining to Piracy Technology and satellite
`piracy generally (“Piracy Forum Web Sites”). Piracy Forurn Web Sites typically:

(a) provide information and instructions on Piracy Technology, including sources of
supply, product information, and product reviews ;

(b) provide piracy software files for download to their users, including files
necessary to support FTA receiver piracy, IKS piracy, and, prior to the release of
the ROM 241 which rendered DISH smartcards “secure”, DISH smartcard
piracy;

(c) provide discussion threads on topics of interest to the piracy community;

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(d) provide links to and advertisements for other piracy web sites that sell Piracy
Technology and related services and provide piracy-related infonnation; and
generally serve as a “community” for the exchange of information designed to
permit consumers to unlawfully receive DISH Programming, and to permit
Pirates to communicate with one another on piracy developments

High profile Piracy Forum Web Sites can have thousands or even tens of thousands of
members subscribers and users Other Piracy Forum Web Sites are “private”, with

membership on an “invitation only” basis

Investigation of the Defendant Edgg'do Carrasquillo

Employees and agents of the Plaintiffs investigated the Defendant in this civil action The
Plaintiffs also retained a private investigator to conduct an investigation of the Defendant.
The declarations of Kevin Gedeon and Gerald Plot should be examined for the details
regarding the piracy activities of the Defendant. My statements set forth below are in part
based upon the evidence derived from the Plaintiffs’ investigation and from expert
analysis related to the investigation

Carrasquillo has effectuated the capturing of control words and the placement of those
control words on IKS servers from at least 200 activated smartcards purchased by
Carrasquillo. These activated smartcards are or were feeding control words to the IKS
servers known as “Fish TV”, “I Link”, “Hillol”, “Kanadian” and “Master Server”;
additionally there are at least six (6) DISH accounts associated with Carrasquillo which are
involved in the capturing of the control words Presumably Carrasquillo is also using his
captured control words in his own ]KS service which he is selling under the name

“Generation IKS” (see below).

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Carrasquillo is selling and offering to sell IKS subscriptions through his service,
“Generation ]KS”, IKS panel distributorships IKS panel hardware and IKS end-user
hardware, including pre-programmed IKS hardware and IKS end-user hardware created by
modifying EchoStar hardware; Carrasquillo is undertaking these activities through his
website www.caribbeansystems.galeon.com, through email communications and in-
person
During the course of this investigation I directed our laboratories to analyze the hardware
programmed with software obtained by a DISH dealer from the Defendant. Our laboratory
confirmed that the receiver purchased from the Defendant was indeed an internet-enabled
DISH receiver programmed (“flashed”) with IKS piracy software such that the modified
device eould, if properly modified, decrypt DISH’s signals without authorization When
receiving key Words from an IKS server. This receiver was found to be modified for the
purpose of decrypting DISH’s signals without authorization; however, it was done so in a
manner that made the receiver inoperable. Attached hereto are true and correct copies of
the reports from our laboratories as:

a. Exhibit A, pertaining to the DISH receiver #R0086047246 purchased in October

2013;

b. Exhibit B, pertaining to the “AVR board” purchased in October 2013; and

c. Exhibit C, pertaining to the wireless router connected purchased in October 2013.
Based upon my knowledge and based upon the other declarations in this action I am of the
opinion that the internet-enabled, unauthorized receivers flashed with IKS piracy software
and the Piracy Technology which are sold and/ or distributed by the Defendant are:

a. Primarily of use in the unauthorized interception of DISH signals;

b. Designed or produced for the purpose of circumventing the Plaintiffs’ digital

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encryption, which is a technological measure used by the Plaintiffs to control access

to the works protected by the copyright laws of the United States and that the

internet-enabled, unauthorized receivers flashed with IKS piracy software:

i.

ii.

have only limited commercially significant purpose or use other than to
circumvent DISH’s encryption and conditional access technological measures
that effectively control access to copyrighted pro gramming; or

were marketed by Defendant, or others acting in concert with Defendant, with
Defendant’s knowledge, for use in circumventing DISH’s encryption, a
technological measure that effectively controls access to copyrighted

programming

Based upon my knowledge and based upon the other declarations in this action I am of the

opinion that the subscriptions to a private IKS server which are distributed by the

Defendant and the subscriptions to the other services to Which the Defendant is feeding

control words are services:

a. Designed or produced for the purpose of circumventing the Plaintiffs’ digital

encryption, which is a technological measure used by the Plaintiffs to control access

to the works protected by the copyright laws of the United States and that

subscriptions to a private IKS server:

i.

ii.

have only limited commercially significant purpose or use other than to
circumvent DISH’s encryption and conditional access technological measures
that effectively control access to copyrighted programming; or

were marketed by Defendant, or others acting in concert with Defendant, with
Defendant’s knowledge, for use in circumventing DISH’s encryption, a

technological measure that effectively controls access to copyrighted

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programming

76. Based upon my knowledge and based upon the other declarations in this action I am of
the opinion that by participating in the operation of an IKS server(s), selling and
offering to Sell IKS end-user subscriptions selling and offering to sell IKS panel
distributorships selling and offering to sell end-user IKS hardware; and selling internet
enabled modified EchoStar receivers which have been preprogrammed with piracy
software files for use in IKS piracy to the Defendant’s customers and to the customers
of the other IKS services he was feeding control words to, he was assisting them in the
unauthorized decryption of DISH’s signals

The Defendant is running his piracy business for his own commercial gain The Defendant

also clearly knows that he is engaging in the above referenced activities to assist his

purchasers and the customers of the other IKS services he was feeding control words to in

obtaining DISH’s signals without authorization and that the Defendant knew that what he

was doing was illegal.

Damages and Irreparable Harm

lt is impossible for the Plaintiffs without obtaining access to the Defendant’s business
records to calculate the actual losses the Plaintiffs have sustained and continue to sustain
as a result of the Defendant’s piracy dealer operations from the his residence and from the
www.caribbeansystems.galeoncom website.

The evidence suggests that these losses would be substantial Based upon its previous
experience in cases involving satellite piracy, DISH estimates that it loses approximately
$70.00 to $200.00 (U.S.) per month in subscription and pay-per-view fees for each piracy

device in use. On an annual basis the loss to DISH is approximately $840.00 to $2400.00

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(U.S.) for each piracy device. These wide dollar ranges are due to the varying levels of
programming offered by the various ]KS Services and the numerous pay-per-view events
available to the IKS end-users using these services However, the Plaintiffs do not know,
and are unable to presently ascertain, the number of customers who have purchased
subscriptions to a private IKS server, downloaded IKS piracy software or purchased the
internet-enabled, unauthorized receivers flashed with IKS piracy software from the
Defendant’s residence or website, and thus cannot calculate with any certainty their
damages from lost subscription revenues

Additionally, without obtaining the Defendant’s records from the Defendant’s computer(s)
the Plaintiffs are unable to ascertain the numbers of subscriptions to a private IKS server,
IKS piracy software files and the intemet-enabled, unauthorized receivers flashed with
IKS piracy software sold and/or distributed by the Defendant. Thus they are unable to
calculate the damages related to their sale subscriptions to a private IKS server, IKS piracy
software files and the intemet-enabled, unauthorized receivers flashed with ]KS piracy
software. The records of the sales should be on the computer(s) and/or on paper records at
the his real property location at Los Reyes, off Carr 842, near Km 1 Hm 9, Caimito, San
Juan, Puerto Rico.

The conduct of the Defendant has caused or contributed to and continues to cause or
contribute to significant and irreparable harm to the Plaintiffs lt deprives DISH of
subscription and pay-per-view revenues and other valuable consideration, it compromises
the DISH security system and the NagraStar conditional access technology and it infringes
on the Plaintiffs’ trade secrets and confidential and proprietary information and interferes
with the Plaintiffs’ contractual and prospective business relations

ln particular, the actions of the Defendant causes the Plaintiffs irreparable harm in that

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they:

(a) deprive DISH of a presently incalculable (as a result of the inability to ascertain,

trace, or account for all unauthorized uses of DISH Programming) number of

existing and prospective customers

(b) cause DISH a loss of revenues proceeds profits and other benefits that are also

incalculable, because it is difficult for DISH to trace, calculate, or prove:

 

 

(C)

(d)

(€)

(i) how many persons are receiving DISH Programming without authorization
and for what periods of time they have done so;

(ii) how much and which type of DISH Programming and how much pay-per-
view programming these persons are receiving without authorization; and

(iii) the actual value of the DISH Programming being received without
authorization;

compromise the integrity of the DISH security system and NagraStar conditional

access technology, which were developed with the investment of considerable

time and expense, and in particular undermines the ability of DISH to restrict

access to their paying customers within the territory of their copyright licenses

for DISH Programming;

exploit for commercial gain the Plaintiffs’ trade secrets and confidential

information in the DISH security system and NagraStar conditional access

technology;

jeopardize the goodwill associated with the Plaintiffs’ names and reputations in

the marketplace, which in turn results in continuous losses of revenue, proceeds

and future business opportunities profits and other benefits that are impossible

to ascertain at this time; and

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(f) threaten to damage or destroy the relationships which the Plaintiffs have
developed over many years with their suppliers and customers including their
ability to retain distribution rights for copyrighted programming as a result of
their inability to restrict distribution tliereof.

lf relevant evidence were destroyed by the Defendant the Plaintiffs would also suffer
irreparable harm from the loss of evidence that is essential to proving their case against the
Defendant and quantifying their damages

The conduct of the Defendant causes significant and irreparable harm specifically to the
Plaintiff DlSH. lt deprives DISH of subscription and pay-per-view revenues and other
valuable consideration lt compromises DISH’s security system, infringes on trade secrets
and the confidentiality of its proprietary information, and interferes with DISH’s
contractual and prospective business relations

The conduct of the Defendant causes significant and irreparable harm specifically to the
Plaintiff EchoStar by depriving EchoStar of revenues derived from the sale and/or
distribution of legitimate DISH hardware and software, by compromising EchoStar’s
proprietary information, and by interfering with EchoStar’s contractual and prospective
business relations

The conduct of the Defendant causes significant and irreparable harm specifically to the
Plaintiff NagraStar by depriving NagraStar of revenues derived from the sale of legitimate
NagraStar smartcards to DISH, by compromising NagraStar’s proprietary information, and
by interfering with NagraStar’s contractual and prospective business relations

Because the total number of users of the pirate hardware, software and services sold and
distributed by the Defendant is unl<nown, and the extent and type of programming viewed

by these users is highly variable, it is very difficult for the Plaintiffs to calculate the actual

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losses they have sustained and continue to sustain as a result of the Defendant’s actions
Thus, the Plaintiffs have no adequate legal remedy other than the injunctive relief sought
in the Plaintiffs motion to address the continuing violation of its rights and bring an end to
Defendant’s illegal acts lt is also extremely crucial to obtain the records especially the
sales records of the Defendant directly from the Defendant’s computer(S) located at his
residence. The Pirate services and devices offered by the Defendant serve but one purpose:
to facilitate the unauthorized descrambling of DISH’s scrambled subscription
programming signals without restriction and free of charge, by persons who are not
entitled to descramble them. By continuing their activities the Defendant has caused and
threatens to cause the Plaintiffs irreparable harm.

Additionally, as of this point in time the Defendant does not appear to own significant
property; he may not be able to pay for the substantial damages he has caused the
Plaintiffs The Plaintiffs need an injunction against the Defendant such there can at least be
the threat of contempt to stop him from engaging in his piracy activities

Based upon the nature of Defendant’s businesses there is good reason to believe that the
Defendant is technologically Sophisticated. lt is also clear that the Defendant’s business is
conducted using computers which will contain files pertaining to devices and services for
pirating DISH Programming, records (including the names and addresses of suppliers and
customers), correspondence, and e-mail communications relating to the piracy of DISH
Programming All of these computer files can be accessed and readily deleted, purged,
encrypted or electronically transferred to other locations outside the jurisdiction of this
Court in minutes if not in seconds Much of this evidence which will be relevant to the
present litigation cannot be obtained from any other source.

Similarly, piracy software files the computer records and even hardware inventory would

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be easy for the Defendant or persons acting under his direction to remove or destroy such
items in their possession in the event they were to receive notice of this litigation

Based upon my experience with piracy cases I believe that there is a real and substantial
risk that the Defendant, who is a telecommunications piracy dealer, is the type of
defendant that Will be likely to dispose of, conceal, or destroy potentially incriminating
evidence upon being served with notice of the proceedings herein Additionally, the fact
that this Defendant utilizes aliases when conducting his piracy operation supports the
contention that this particular Defendant would be likely to dispose of, conceal, or destroy
potentially incriminating evidence upon being served with notice of the proceedings
herein The destruction of evidence would frustrate the Plaintiffs’ ability to obtain a
remedy for the Defendant’s wrongdoing and frustrate the process of this Court. This has
occurred recently in several other cases involving the piracy of DISH Programming in the
United States and Canada. Examples of those cases and instances of spoliation are set forth
below:

a. NagraStar brought a lawsuit in Canada against Sky High Electronics, its owner
Tomislav Robic, and other individuals and businesses for distributing piracy devices
DISH seized computers and other evidence pursuant to an Anton Piller Order - the
equivalent to the ex parte seizure and impoundment order sought in this action Mr.
Robic later coordinated the break-in of the storage facility that housed the seized
evidence and destroyed it.

b. NagraStar sued Panarex, lnc. and other Defendant in the United States District Court
for the Central District of California, Case No. 07-cv-05897, for distributing piracy
devices Panarex, after being served with the complaint and a preservation letter,

destroyed emails and software files exchanged with the Korean manufacturer of the

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piracy devices

NagraStar brought a lawsuit in Canada against Digital Store, its owner
Ravindranauth Ramkissoon, and other Defendant for distributing piracy devices
When law enforcement and counsel attempted to seize evidence under an Anton
Piller Order, Ramkissoon delayed entry to the premises and attempted to remove or
destroy evidence, including several computer hard drives Ramkissoon also used the
delay to remove computers and other evidence from his personal residence.
NagraStar made a surprise visit to David Smith, operator of a piracy-related internet
forum www.jZatv.com. Smith told NagraStar that if he was sued all incriminating
evidence would be destroyed NagraStar brought suit against Smith in the United
States District Court for the Eastern District of Kentucky, Case No. 09-cv-00038,
and was granted an ex parte seizure order. Shortly thereafter, it was discovered that
following NagraStar’s initial visit Smith had burned a computer hard drive
containing evidence of his involvement in piracy.

NagraStar sued Munid and Ootra Ramkissoon in the United States District Court for
the District of New Jersey, Case No. 09-cv-06135, for facilitating the theft of DISH
Programming The Ramkissoons have recently claimed that after the complaint was
served their computer hard drives were “stolen” along with the numerous DISH

receivers and smartcards at issue in the case.

l have also reviewed the declaration of Attorney Daniel Lefl<owitz from the case of CSC

Holdings, Inc. v. Charles Carillo et al 3:04 cv 1617 (JBA) (See McLaughlin Declaration

Exhibit A) which sets forth a litany of situations that clearly evidence the fact that

telecommunications pirates are precisely the type of Defendant who would move, hide or

destroy evidence if given notice of a hearing Based on my experience,`the situations set

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forth in Attorney Lefkowitz’s declaration typify the type of actions telecommunications
pirates will engage in

Based upon my experience with piracy cases it is my opinion that Plaintiffs will need an
ex parte civil seizure order and the other relief we are seeking in this action

Based upon my experience with piracy cases I am also aware that numerous pirate
websites post the PACER filings that are made in cases that relate to satellite or cable
television Therefore, these websites would inform their visitors about electronic filings
even if the filings themselves were being done without notice to the Defendant (exparte).
The Defendant in this action is precisely the type of defendant that would normally keep
track of the PACER filings on cable and satellite cases Accordingly, l believe that this
Court should temporarily seal this case until we are able to execute a civil seizure order at

the Defendant’s residence.

Need for Asset Freeze and Accounting
lt is clear that the Defendant is engaging in these piracy activities wilfully for his own
commercial gain and profit.
Based upon my experience with piracy cases it is my opinion that the Plaintiffs will need
a freeze on the Defendant’s assets Otherwise the Defendant can utilize the assets to simply
carry on piracy activities
Also, Based upon my experience with piracy cases it is my opinion that without an asset
freeze the Defendant could remove or hide his assets that were derived from the profits
from the piracy activities such that the Plaintiffs would be unable to attain these profits
Based upon my experience with piracy cases it is my opinion that the Plaintiffs will need

an accounting so as to determine precisely what the Defendant’s assets are and where they

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are located

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l declare this K_H\day of § iv i\/G , 2014 under penalty of perjury under the laws of
the United States of America that e foregoing is true and correct.

dad `

Jerry Lejif(‘i;@e/

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